     Case 2:15-cr-00986-DGC   Document 99   Filed 04/27/23   Page 1 of 6




1                        UNITED STATES DISTRICT COURT

2                        FOR THE DISTRICT OF ARIZONA

3                              _________________

4    United States of America,         )
                                       )
5                       Plaintiff,     ) 2:15-CR-00986-PHX
                                       )
6            vs.                       ) Phoenix, Arizona
                                       ) November 1, 2017
7    Murray J. Lawson,                 ) 2:00 p.m.
                                       )
8                       Defendant.     )
     __________________________________)
9

10           BEFORE:    THE HONORABLE DAVID G. CAMPBELL, JUDGE

11                 REPORTER'S TRANSCRIPT OF PROCEEDINGS

12                     STATUS CONFERENCE RE: SENTENCING

13

14   For the Government:
              U.S. Attorney's Office
15            By: RAYMOND K. WOO, ESQ.
              40 North Central Ave., Ste. 1200
16            Phoenix, AZ 85004

17   For the Defendant:
              Park Law Office PLC
18            By: JAMES SUN PARK, ESQ.
              P.O. Box 30401
19            Phoenix, AZ 85046

20

21   Official Court Reporter:
     Patricia Lyons, RMR, CRR
22   Sandra Day O'Connor U.S. Courthouse, Ste. 312
     401 West Washington Street, SPC 41
23   Phoenix, Arizona 85003-2150
     (602) 322-7257
24
     Proceedings Reported by Stenographic Court Reporter
25   Transcript Prepared with Computer-Aided Transcription
     Case 2:15-cr-00986-DGC    Document 99    Filed 04/27/23   Page 2 of 62




1                             P R O C E E D I N G S

2

3              THE COURTROOM DEPUTY:         Criminal case 2015-986,

4    United States of America versus Murray John Lawson, on for

5    sentencing.

6              MR. WOO:    Your Honor, Ray Woo for the United States.

7    Good afternoon.

8              THE COURT:     Good afternoon.

9              MR. PARK:      Good afternoon, Judge.       Jim Park

10   appearing on behalf of Mr. Lawson.          He is not present and is

11   out of custody.    Did you want me to address the issue

12   briefly, Judge?

13             As far as I know, he went to Canada but he did not

14   return because he did not surrender his passport back to

15   pretrial services as required by this Monday 5 p.m.               I

16   believe he's still in Canada.

17             What he has been working on, Judge, is securing

18   restitution through his friends.         He has secured the funding

19   but it was in Canadian dollars, so he's in the process of

20   depositing to his account, getting the money converted to

21   American dollars in the United States and paying the $400,000

22   restitution off.     That's still his intention.          This case has

23   been going on more than two years, Judge.            He's been to

24   Canada multiple times and never violated pretrial services

25   orders or his conditions.
     Case 2:15-cr-00986-DGC    Document 99   Filed 04/27/23   Page 3 of 63




1              At this time, Judge, I'd ask for a short

2    continuance, approximately two weeks, so he can follow

3    through on his funding and we'll get the check over to the

4    United States Attorney's Office, cashier's check that they

5    had requested in the name of the victim, and that would show

6    his faith that he intends to comply and go through with the

7    terms of the plea agreement and the sentencing.             Whereas with

8    a warrant, if you were to issue a warrant, then he couldn't

9    cross at the border without getting picked up and that would

10   require a lot lengthier time before he can even get to the

11   sentencing stage.

12             So, Judge, at this time I request a two-week

13   continuance so that he can follow through on his requirement

14   of the plea agreement.

15             THE COURT:     Does he know about today's sentencing?

16             MR. PARK:      He is aware of today's sentencing, Judge.

17             THE COURT:     All right.

18             Mr. Woo.

19             MR. WOO:    Your Honor, I have no reason to doubt what

20   Mr. Park is saying to the Court so I don't object to a short

21   continuance.

22             THE COURT:     Well, I would be inclined to entertain

23   your suggestion, Mr. Park, if we had received communication

24   from Mr. Lawson.

25             MR. PARK:      He has been e-mailing me, Judge.         I don't
     Case 2:15-cr-00986-DGC    Document 99   Filed 04/27/23   Page 4 of 64




1    know where he is in Canada, but he has been e-mailing me.

2              THE COURT:     Did he E-mail you about the date today?

3              MR. PARK:      He said that he did e-mail me -- he knows

4    about today's date, Judge.       I've communicated to him multiple

5    times.   And he's secured the money, according to Mr. Lawson,

6    and he's just trying to convert it to American dollars from

7    Canadian dollars.

8              THE COURT:     Well, I understand what you're saying,

9    Mr. Park, but he's been to Canada half a dozen times to get

10   this done.    I know that because I've had to authorize it each

11   time.

12             For him to do that, not get it accomplished and then

13   not show up on the day of his sentencing when he knows it is

14   the day of his sentencing, to me, doesn't provide me basis to

15   think it's going to happen in the next two weeks, so I'm

16   going to issue a warrant.       I'm not confident that Mr. Lawson

17   is going to follow through on what he's been saying for

18   months he would do, and what he was supposed to do by last

19   August and has not accomplished.        And, therefore, I think the

20   best course for me to do is issue a warrant.

21             Now, obviously, if he communicates with you and he

22   tells you he has the money, you can communicate with Mr. Woo

23   and maybe some arrangement can be made to get that money

24   transferred and done so that we can actually consider the

25   sentencing.    But at this point, given the multiple
     Case 2:15-cr-00986-DGC    Document 99    Filed 04/27/23   Page 5 of 65




1    opportunities he's had to get the money, given his commitment

2    to get it done by last August, which he didn't meet, and

3    given his failure to appear for his sentencing today, my

4    conclusion is that a warrant is the right course.

5              So that's what we'll do.         We'll issue a warrant.

6    And I assume you'll be in touch with him.

7              If this creates an issue you want to raise with me,

8    I'll be happy to talk with you two on the phone at some point

9    on short notice, although there may be some limitations on my

10   ability to do it on too short of notice.            But I'm happy to

11   respond if there's something I can intervene to help with.

12   But I take his failure to appear today very seriously and

13   think a warrant is needed.

14             MR. PARK:      Understand, Judge.

15             THE COURT:     Okay.    We'll issue the warrant.

16             Traci, is there anything else we need to do in terms

17   of scheduling?    We can't schedule another sentencing.

18             THE COURTROOM DEPUTY:         Not until he's picked up.

19             THE COURT:     Okay.    That's what we'll do.

20             MR. PARK:      Thank you, Judge.

21             THE COURT:     Thanks.

22             (End of transcript.)

23                                    * * * * *

24

25
     Case 2:15-cr-00986-DGC   Document 99   Filed 04/27/23   Page 6 of 66




1                             C E R T I F I C A T E

2

3              I, PATRICIA LYONS, do hereby certify that I am duly

4    appointed and qualified to act as Official Court Reporter for

5    the United States District Court for the District of Arizona.

6

7              I FURTHER CERTIFY that the foregoing pages constitute

8    a full, true, and accurate transcript of all of that portion

9    of the proceedings contained herein, had in the above-entitled

10   cause on the date specified therein, and that said transcript

11   was prepared under my direction and control, and to the best

12   of my ability.

13

14             DATED at Phoenix, Arizona, this 27th day of April,

15   2023.

16

17

18

19

20                                    s/ Patricia Lyons, RMR, CRR
                                      Official Court Reporter
21

22

23

24

25
